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                                                          UNITED STATES DISTRICT COURT
                                                               DISTRICT OF ALASKA

                            CP ANCHORAGE HOTEL 2, LLC d/b/a
                            ANCHORAGE HILTON,

                                           Plaintiff,                         Case No. 3:18-cv-00071-SLG

                                    v.                                         PLAINTIFF’S SUR-REPLY TO
                                                                               DEFENDANT’S MOTION TO
                            UNITE HERE! LOCAL 878, et al.,                     DISMISS

                                           Defendant.                          [Dkt. 16 and 24]


                                  In its Reply Brief, Defendant argues for the first time that the Plaintiff CP Anchorage Hotel

                           2, LLC d/b/a Anchorage Hilton (“Anchorage Hilton” or “Plaintiff”) cannot prove damages because
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                           the VCS Conference was held at another hotel also owned by Plaintiff’s parent company, Columbia

                           Sussex. See Dkt. 24 at 16-17. This argument fails for three reasons: (1) at the motion to dismiss

                           stage a plaintiff need only plead, not prove, plausible relief, which Anchorage Hilton has done; (2)

                           the fact that Anchorage Hilton and the Anchorage Marriott are both owned by the same parent

                           company does not preclude Anchorage Hilton’s request for damages; and (3) Defendant’s argument

                           ignores all the other forms of damage Plaintiff (including its parent company) has suffered, including

                           the loss of revenue at Anchorage Hilton (which is a separate property and operating entity than

                           Anchorage Marriott), the reduced number of room reservations for the VCS Conference once the

                           conference was indeed held, reduced revenue from guest charges, damage to reputation, other lost
                            PLAINTIFF’S SUR-REPLY TO DEFENDANT’S MOTION TO DISMISS
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                           business, additional staff time and costs associated with responding to Defendant’s unlawful

                           conduct, outside expenses, including, but not limited to, legal and consultant fees, etc., etc.

                                  Moreover, as illustrated by the Declaration of Ben Krisher (and exhibits attached thereto)

                           (collectively, “Krisher Declaration”), the harm being caused by the wrongful conduct of UNITE

                           HERE! Local 878 (“UNITE HERE!) is ongoing. UNITE HERE! has not ceased its illegal conduct

                           directed to third-parties. Indeed, as the Krisher Declaration illustrates, UNITE HERE! continues to

                           contact board members of trade organizations seeking to hold their conferences at Anchorage Hilton

                           in unlawful ways (in this instance, the Alaska State Council of the Society of Human Resource

                           Managers (“ASHRM”). UNITE HERE! also continues to contact individuals who are even another

                           level removed - the management and supervisors of those board members at their places of business.

                           UNITE HERE! is contacting these managers/supervisors even though they (and their businesses) are

                           completely uninvolved in the conference planning. Yet, UNITE HERE! is contacting them in an

                           effort to try and unlawfully persuade those individuals to put pressure on the board members of

                           ASHRM to cancel or move the ASHRM conference from the Anchorage Hilton. As the Krisher

                           Declaration explains, UNITE HERE!’s conduct is even going a step further and contacting other
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                           state councils of the Society of Human Resource Managers to try and get them to put pressure on

                           ASHRM to cancel or move their conference. Such extreme and invasive conduct by UNITE HERE!

                           is impermissible and causing ongoing harm to Anchorage Hilton – damage that may not yet be fully

                           quantifiable.

                                  Furthermore, taking these additional facts into account, there simply is no basis for

                           Defendant’s assertion that Plaintiff has not sufficiently pled a viable cause of action or that Plaintiff

                           has failed to adequately plead a viable claim for damages.

                                  For all of the reasons set forth herein and the Plaintiff’s Response [Dkt. 22], Defendant’s

                           Motion to Dismiss [Dkt. 16] should be denied.

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                                                                 Respectfully submitted,

                                Dated this 21st day of August, 2018.

                                                                     LITTLER MENDELSON
                                                                     Attorneys for Plaintiff, CP Anchorage Hotel
                                                                     2, LLC d/b/a Anchorage Hilton


                                                               By:    /s/ Douglas S. Parker
                                                                     Douglas S. Parker
                                                                     Alaska Bar 8311168


                                                               By:    /s/ Renea I. Saade
                                                                     Renea I. Saade
                                                                     Alaska Bar 0911060




                           CERTIFICATE OF SERVICE:

                           I hereby certify that on the 21st day of August, 2018, a true and correct copy
                           of the foregoing document was served on:

                           Eric B. Myers
                           Sarah E. Josephson
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 LITTLER MENDELSON
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                           By  Hand  Mail  Fax
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                            Court’s ECF filing system

                           /s/ Nancy Murphy Kruse
                           Nancy Murphy Kruse
                           Legal Assistant




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